














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






No. PD-1643-07





ERNEST PATY, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE SIXTH COURT OF APPEALS

SMITH COUNTY




Per curiam.  KEASLER and HERVEY, JJ., dissent.


ORDER

	The petition for discretionary review violates Rule of Appellate Procedure 9.3 because
the original petition is not accompanied by 11 copies.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition may be filed in the
Court of Criminal Appeals within thirty days after the date of this order.

En banc

Delivered: February 13, 2008

Do Not Publish


